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Joel DeCapua
PROFESSIONAL EXPERIENCE
FEDERAL BUREAU OF INVESTIGATION
Special Agent, Cyber Crimes – New York, NY, October 2014 – January 2018, August 2022 – Present
    Led investigations into sophisticated network intrusions and technology enabled federal crimes.
    Subject matter expert in digital forensics, cyber investigations, and network security.
    Cyber Action Team (CAT) Operator
Supervisory Special Agent, Cyber Division – New York, NY, January 2018 – August 2022
    Support and manage various FBI network intrusion investigations.
    Guide policy, provide expert technical assistance to investigators, assess the performance of FBI cyber programs,
       initiate new investigations, and provide investigative resources to case teams.
Special Agent, White Collar Crimes – Newark, NJ, January 2010 – October 2014
    Investigated and enforced federal laws related to securities fraud and public corruption.
New Agent Trainee, FBI Academy – Quantico, VA, August 2009 – January 2010
Key Achievements:
       Director’s Award, Financial Crimes Enforcement Network, 2019
       Exceptional Service Award, Federal Bureau of Investigation, 2017
       Investigator of the Year Award, Federal Law Enforcement Foundation, 2016
STATE OF INDIANA
Financial Investigator – Indianapolis, IN, August 2004 – August 2009
     Led investigations into securities fraud and money laundering matters.

CERTIFICATIONS, TRAINING, AND PROFESSIONAL AFFILIATIONS
General Cybersecurity:
       March 2018 - GIAC Continuous Monitoring Certification (GMON) (Inactive)
       March 2015 - GIAC Security Essential Certification (GSEC)
Disk/Memory Forensics:
       October 2018 - GIAC Reverse Engineering Malware (GREM) (Inactive)
       August 2017 - GIAC Advanced Smartphone Forensics (GASF) (Inactive)
       March 2017 - FBI CART Certified Digital Extraction Technician (DexT)
       October 2016 - GIAC Certified Forensic Analyst (GCFA) (Inactive)
       February 2016 - GIAC Certified Incident Handler (GCIH) (Inactive)
       July 2015 - GIAC Certified Forensic Examiner (GCFE) (Inactive)
Network Forensics/Hacking:
       July 2022 - GIAC Cyber Threat Intelligence (GCTI)
       January 2022 - GIAC Cloud Penetration Tester (GCPN)
       August 2020 - GIAC Web Application Penetration Tester (GWAPT)
       July 2019 - GIAC Penetration Tester (GPEN)
       March 2017 - GIAC Network Forensic Analyst (GNFA) (Inactive)
       June 2016 - GIAC Certified Intrusion Analyst (GCIA) (Inactive)
Financial/Fraud Detection:
       January 2009 - Certified Public Accountant (CPA) (Expired)
       March 2008 - Certified Fraud Examiner (CFE) (Inactive)

EDUCATION
Indiana University, Kelley School of Business, MS Accounting, January 2007, Bloomington, IN
DePauw University, BA Economics, May 2004, Greencastle, IN
